Case 2:05-Cr-20076-BBD Document 54 Filed 07/26/05 Page 1 of 2 Page|D 55

IN THE UNITED sTATEs DISTRICT COIH!.ID ar _j@ D_C_
FoR THE WESTERN DISTRJCT 0F TENNESSEE

WESTERN DIvisioN 05 JUL 25 PH l= 2a
UNITED sTATEs 0F AMERICA, * mann i\,¢_ GQULD
CLERK, U§ B'ISWCT COURT
Plaimirr, a W ~C‘- .W"-:. F..:za¢aazs
v. * cr. Nos. 05-20076-3 & 05-20077-13
RITA WILLIAMSON, *
Defeodant. *

 

ORDER GRANTING MOTION TO SEVER AND TRANSFER CAUSES

 

Upon motion of the defendant, and Without objection by the United States, the defendant’s
motion to sever and transfer the above-referenced causes is hereby GRANTED.

Thjs Honorab]e Court Will hereby sever Ms. Williamson from Case Nos. 05-20076 and 05~
20077 pending before the Court and transfer those causes to the chambers of the Honorable Bernice
Donald.

lt is so ORDERED.

f+\
Thisrhe b daye 2005.

 

.D ielBreen
nite States DistrictCourt Ju e

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20076 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed

ENNESSEE

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

